                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                              Plaintiff,
        v.                                         No. 19-MJ-2045-DPR-01

 STEVEN HOOK,

                              Defendant.

         UNITED STATES' MOTION FOR PRETRIAL DETENTION AND FOR
              A HEARING PURSUANT TO 18 U.S.C. § 3142(e) and (f)

       The United States of America, through Timothy A. Garrison, United States Attorney for

the Western District of Missouri, and Abram McGull II, Assistant United States Attorney requests

pretrial detention and a detention hearing pursuant to 18 U.S.C. § 3142 (e)(3)(A) and (B), and

(f)(1)(C). At this hearing the evidence will demonstrate that no condition or combination of

conditions of release will reasonably assure the defendant's appearance as required by the Court

and the safety of other persons and the community.

                              SUPPORTING SUGGESTIONS

   1. Subsection 3142(f)(1), Title 18, United States Code, provides that a hearing must be held

       by the appropriate judicial officer to determine whether any condition or combination of

       conditions will reasonably assure the defendant's appearance and the safety of any other

       person in the community if the attorney for the government moves for such a hearing and

       if the defendant is charged with an offense for which a maximum term of imprisonment of

       ten years or more is prescribed in the Controlled Substances Act described in

       subparagraphs (C). 18 U.S.C. § 3142 (f)(1) (A – E).




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2. The statute recognizes two additional situations which allow for a detention hearing and

   which can be raised either by the attorney for the government or by a judicial officer. These

   conditions are:

       a. When there is a serious risk that the defendant will flee; or,

       b. When there is a serious risk that the person will "obstruct or attempt to obstruct

           justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate,

           a prospective witness or juror."

3. One or more grounds for a pretrial detention hearing as set forth by the statute exists in the

   above cause.

4. On June 3, 2019, a federal magistrate seated in Springfield, Missouri, found probable cause

   that the defendant was involved in conspiracy to distribute 500 grams or more of a mixture

   or substance containing a detectable amount of methamphetamine.

5. The nature and circumstances of this charged offense, the weight of the evidence, and the

   nature and seriousness of the danger to any person or the community that would be posed

   by the defendant’s release because of his participation in the conspiracy to distribute 500

   grams or more of a mixture or substance containing a detectable amount of

   methamphetamine demonstrate that there are no conditions or combination of conditions

   set forth in 18 U.S.C. § 3142(c) that will reasonably assure the safety of other persons and

   the community and the appearance of the defendant as required.

6. This criminal complaint creates a rebuttable presumption that no condition or combination

   of conditions will reasonably assure the appearance of the defendant and the safety of the

   community.




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7. In addition, this defendant, has the following criminal convictions that demonstrate he is a

   danger to the community:

         a) On or about July 14, 1999, the defendant was convicted for theft in Indiana where

             he received 2 year suspended imposition of sentence.

         b) On or about December 13, 1999, the defendant was convicted of a residential

             entry in Indiana where he was sentence to 3 years and the court suspended

             execution of his sentence for 2.5 years.

         c) On or about August 27, 2003, the defendant was convicted of theft in Indiana

             where he was sentenced to 3 years and placed on probation for 2 years. However,

             he was revoked and had to serve 30 months in prison.

         d) On or about February 22, 2012, the defendant was convicted of theft in Indiana

             where he was sentenced to 3 years in prison.

         e) The defendant is a resident of Indiana and he has no ties to the Western District

             of Missouri. Thus, he is a flight risk.

8. Based upon the foregoing, there are no conditions or combination of conditions set forth in

   18 U.S.C. § 3142(c) that will reasonably assure the appearance of the defendant as required

   and the safety of other persons and the community.




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       WHEREFORE, the United States requests a pretrial detention hearing and that the

defendant be detained.



                                          Respectfully,

                                          Timothy A. Garrison
                                          United States Attorney

                                   By     /s/ Abram McGull II
                                          Abram McGull II
                                          Assistant United States Attorney
                                          Missouri Bar No. 40553
                                          901 St. Louis Street
                                          Springfield, Missouri 65806
                                          (417) 831-4406


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on June 4,
2019, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                          /s/ Abram McGull II
                                          Abram McGull II
                                          Assistant United States Attorney




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